Case 2:11-cv-01210-JMV-SCM Document 469-4 Filed 06/21/19 Page 1 of 3 PageID: 19887




                             Exhibit 1
   Case 2:11-cv-01210-JMV-SCM Document 469-4 Filed 06/21/19 Page 2 of 3 PageID: 19888




From: "Robinson, Frederick" <FRobinson@reedsmith.com>
Date: September 12, 2018 at 1:07:49 PM EDT
To: 'Bill Carmody' <bcarmody@SusmanGodfrey.com>
Subject: FW: United States ex rel. Bahnsen v. Boston Scientific Neuromodulation Corporation Mediation
- October 22, 2018

      Bill,

      Two things:

      You should know that Judge Phillips currently is mediating a case to which we are a
      party. We don’t think that is disqualifying, but thought his disclosure didn’t make this
      clear.

      More importantly, given the significant fee that Judge Phillips charges for his services,
      we are not convinced that now is the right time to employ him as a mediator. We think
      the chances for success in the mediation will be enhanced if we hold the mediation after
      Judge Vasquez has ruled on the pending motions in limine. Although we do not know
      when the judge will be ruling on the motions (maybe your local counsel has some ideas
      about this), I suggest we ask Judge Phillips about possible mediation dates in
      November and December.

      Thanks.

      Rick Robinson | Partner
      ReedSmithLLP
      1301 K Street, N.W.
      Suite 1100 – East Tower
      Washington, D.C. 20005-3373
      Direct +1 202-414-9259
      Fax +1 202-414-9299
      frobinson@reedsmith.com




      From: Amanda Saunders <ASaunders@phillipsadr.com> On Behalf Of Meghan Lettington
      Sent: Tuesday, September 11, 2018 1:21 PM
      To: Bill Carmody <bcarmody@SusmanGodfrey.com>; Arun Subramanian
      <asubramanian@SusmanGodfrey.com>; 'mmusico@susmangodfrey.com'
      <mmusico@susmangodfrey.com>; 'mgervais@susmangodfrey.com' <mgervais@susmangodfrey.com>;
      Robinson, Frederick <FRobinson@reedsmith.com>; Reynolds, Lesley C. <LReynolds@reedsmith.com>
      Cc: Amanda Saunders <ASaunders@phillipsadr.com>; Meghan Lettington
      <MLettington@phillipsadr.com>
      Subject: United States ex rel. Bahnsen v. Boston Scientific Neuromodulation Corporation Mediation ‐
      October 22, 2018
                                                       1
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   Dear Counsel:



   Please find attached Judge Phillips’ retention agreement and accompanying invoices for the above
   referenced matter. Please let us know when the parties have agreed to a specific location for the
   mediation in Los Angeles.



   By way of disclosure, please note that Judge Phillips has previously mediated matters where Susman
   Godfrey LLP and Reed Smith LLP served as counsel to a party.



   Judge Phillips does not believe these disclosures represent conflicts that would disqualify him from
   serving as the neutral mediator in the above referenced matter. He did, however, feel they warranted
   disclosure to the parties.



   Please pay particular attention to our cancellation policy which is set forth in the retention agreement
   and return the signed retainer as soon as possible.



   Let me know if you have any questions.



   Meghan Lettington


                                                         ***
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